Case 1:24-mc-01574-DIl Document1 Filed 12/20/24 Page 1 of 2

FILED

UNITED STATES DISTRICT COURT

WESTERN DISTRICT OF TEXAS DEC 2.0 2024
AUSTIN DIVISION CLERK, U.S. DISTRICT CLERK
WESTERN Parag OF TEXAS

IN RE: REQUEST FOR JUDICIAL DEPUTY

ASSISTANCE FROM THE 30TH iat
ANLBEEE MITE Case No.4 z 2 4 MCO i 5 / & VS
MATTER OF RAMAZAN SILAH V. -

TURKEY HALKBANK JOINT-STOCK
COMPANY

APPLICATION FOR ORDER PURSUANT TO 28 U.S.C. § 1782

The United States of America, by and through counsel, petitions this Court for an Order
pursuant to 28 U.S.C. § 1782(a), appointing Krysta M. Stanford, Trial Attorney, at the U.S.
Department of Justice, Civil Division, Office of Foreign Litigation, Commissioner for the
purpose of obtaining documents from X Corporation (“X”’). Certain evidence has been requested
by the 30th Labor Court of Istanbul, Anadolu, Tiirkiye (“Turkish Court”), pursuant to a Letter of
Request issued by the Turkish Court in connection with a civil judicial proceeding captioned
Ramazan Silah v. Turkey Halkbank Joint-Stock Company, Foreign Reference Number 2023/396.

The grounds for this Application are more fully articulated in the Memorandum of Law
that has been simultaneously filed with the Application. A proposed Order is also provided for
the convenience of the Court. X has advised that it does not object to the appointment of a
Department of Justice Attorney as commissioner and takes no position on the issuance of the

subpoena, but it reserves all rights in how it responds to the subpoena.
Case 1:24-mc-01574-DIl Document1 Filed 12/20/24 Page 2of2

Dated: December 19, 2024 Respectfully submitted,

JAIME ESPARZA
United States Attorney

BRIAN M. BOYNTON
Principal Deputy Assistant Attorney General

ADA E. BOSQUE
Acting Director, Office of Foreign Litigation
United States Department of Justice, Civil Division

By:

KRYSYA M. SPANFORLY

Trial Attorney

United States Department of Justice, Civil Division
Office of Foreign Litigation

Office of International Judicial Assistance

1100 L Street NW, Room 8024

Washington, DC 20530

Telephone: 202-353-2148

Email: Krysta.M.Stanford@usdoj.gov
